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		OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. BALINT

					

				
  



				
					
					
						
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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. BALINT2021 OK 51Case Number: SCBD-7056Decided: 10/18/2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 51, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

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STATE OF OKLAHOMA ex rel., OKLAHOMA BAR ASSOCIATION, Complainant,
v.
ANDREW DAVID BALINT, Respondent.



ORDER



On June 15, 2021, an Order Granting Motion to Strike Hearing was entered by the Professional Responsibility Tribunal in this matter. The June 16, 2021 hearing was stricken.

IT IS THEREFORE ORDERED that further proceedings in this matter are hereby suspended until further Order of this Court.

IT IS FURTHER ORDERED that the Order of Immediate Interim Suspension entered on May 17, 2021 remains in effect.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE on October 18, 2021.


/S/CHIEF JUSTICE


Darby, C.J., Kane, V.C.J., Kauger, Winchester, Edmondson, Gurich, Rowe, Kuehn, JJ., concur;

Combs, J., dissents (by separate writing).


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Combs, J., dissenting:


¶&nbsp;1 &nbsp;I respectfully dissent from this Court's suspension of further proceedings under Rule 6 of the Rules Governing Disciplinary Proceedings (RGDP), 5 O.S.2011, ch. 1, app. 1-A, due to the issues raised in State of Oklahoma ex rel. Oklahoma Bar Association v. Balint, No. OBAD-2343 (Okla. filed Aug. 5, 2021).

¶2 Unless Respondent is found to be mentally incapable of defending or assisting his counsel in defending against the charges, this Rule 6 proceeding should proceed. In these two proceedings, neither the Professional Responsibility Tribunal (PRT) nor this Court have made that finding, and Respondent certainly hasn't admitted such. Consequently, the PRT should--at the very least--hear evidence of any conduct or neglect of duty in respect to the affairs of a client that would justify the imposition of discipline, so that it can make a fully informed recommendation to this Court about the disposition of both proceedings.

¶3 I also dissent from any suspension of the Rule 6 proceeding that fails to impose a schedule for semiannual reports from the parties on Respondent's status. The suspension of these proceedings should not be indefinite and should not leave Respondent's clients who have filed grievances in the lurch.






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